Case 0:12-cv-61390-KMW Document 182 Entered on FLSD Docket 03/09/2015 Page 1 of 1



                               UNITED STATES DISTRICT COURT
                               SO U TH E RN D ISTR ICT O F FL O R ID A

                                         M IA M ID IV ISIO N
   CA RLO S CA BRER A,                                  Case N o12-CV -61390-K M W

                  Plaintiff,
   VS.

   G OV ERN M EN T EM PLO YEES IN SU RAN CE
   COM PAN Y AN D BELL LLC,




                 FIN A L O R D ER O F D ISM ISSA L O F CLA IM S A G A IN ST BELL
           TH IS M A TTER isbefore the Courtupon the parties Stipulation forJointD ism issalw ith

   Prejudice(DE 181).TheCourthasbeen advised thata11individualclaimsandcausesofaction
   asserted by Plaintiff againstDefendant BELL have been am icably resolved as recited in the

   Stipulation. Therefore,it is hereby,ORDERED AND ADJUDG ED that the Stipulation is

   A PPR O VED .     The Plaintiff s individual claim s against D efendant BELL LLC, are

   DISM ISSED W IT H PR EJU DIC E. Each party is to bear their own costs and fees exceptas

   otherwise agreed by the parties.

           DONEANDORDEREDintheSouthernDistrictofFloridathisY dayofMarch,
   2015.


                                               H ON O RA B K A TH LEEN M .W ILLIAM S
                                               UN ITED ST TES D ISTRICT JU D G E
